                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-14
v.                                            )   Judge Sharp
                                              )
DEMETRIUS DUNCAN                              )
                                              )


                                         ORDER


      The change of plea hearing scheduled for Thursday, April 18, 2013, at 2:30 p.m. is

hereby RESCHEDULED for Wednesday, April 17, 2013, at 10:30 a.m.

      IT IS SO ORDERED.




                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012      Document 1395        Filed 04/15/13     Page 1 of 1 PageID #: 6774
